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 4
     Attorney for defendant
 5   VITALIY TUZMAN
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 7

 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          No.   2:11-CR-0427-LKK
                                        No.   2:12-CR-0003-LKK
12                Plaintiff,

13        v.
                                          ORDER FOR RELEASE OF PASSPORT
14   VITALIY TUZMAN,                      AND EXONERATION OF BOND

15                Defendant.

16

17        Defendant VITALIY TUZMAN, through counsel John Balazs,

18   hereby applies for an order for return of his passport and

19   exoneration of bond.

20        In case nos. 2:11-CR-0427-LKK and 2:12-CR-0003, Mr. Tuzman

21   was released on a $75,000 unsecured bond with a condition that he

22   surrender his passport.

23        On July 23, 2014, the Court granted the government’s motion

24   to dismiss all charges against Mr. Tuzman in case no. 2:11-CR-

25   0427-LKK.   On August 22, 2014, the jury returned a not guilty

26   verdict on all charges against Mr. Tuzman in case no. 2:12-CR-

27   0003-LKK.

28        As a result, Mr. Tuzman now moves for an order exonerating
                                         1
      Case 2:11-cr-00427-TLN Document 183 Filed 08/28/14 Page 2 of 3


 1
     his bond and for release of his passport.
 2
     Dated: August 26, 2014                  /s/ John Balazs
 3                                           JOHN BALAZS
 4                                           Counsel for defendant
                                             VITALIY TUZMAN
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 1
                                       ORDER
 2
          IT IS HEREBY ORDERED that defendant Vitaliy Tuzman’s bond is
 3
     exonerated in case nos. 2:11-CR-0427-LKK and 2:12-CR-0003-LKK and
 4
     that the district court clerk’s office return Mr. Tuzman’s
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     passport to him, his attorney, John Balazs, or his attorney’s
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     representative.
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     Dated: August 27, 2014
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